         Case 8:06-cr-00483-SDM-TBM Document 347 Filed 07/31/07 Page 1 of 6 PageID 776
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



IJNITED STATES 01: AMERICA                                            JUDGMENT IN A CRIRIINAL CASE
                                                                      CASE NUMBER:       8:06-cr-483-T-23TBM
                                                                      USM NUMBER:        49131-018



ALBERT0 CARMONA
                                                                      Defendant's Attorney: Pedro Amador, Jr ., cja

THE DEFENDANT:

-
X pleaded guilty to count ONE of the Indictment .


TITLE S: SECTION                          NATURE OF OFFENSE                            OFFENSE ENDED                      COUNT

21 U.S.C. $8 846; and                     Conspiracy to Manufacture, Distribute,       November 7, 2006                   OSE
84 1(b)( 1)(B)                            and Possess With Intent to Mailuhcture
                                          100 or More Marijuana Plants

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


IT IS FURTIHER ORDERED that the defendant must notifj the United States Attorney Sor this district within 30 days of any
chmgs of name, residence, or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment
arc fully paid.

I f ordered 10 pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                       Date of Imposition of Sentence: July 27, 2007




                                                                                            STEVEN D. hlERRYDAY
                                                                                                                              w
                                                                                                                              b

                                                                                                                                       I
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       DATE: July    3lT 2007
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A 0 24513 (Kev 06!'05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           ALBERT0 CARMONA                                                              Judgment - Page 2 of
Case No. :           8 :06-cr-483-T-23TBM

                                                                  IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
TWENTY-FOUR (24) MONTHS.




  X The court makes the following recon~~nendations
                                                 to the Bureau of Prisons: confinenlent at FCI Miami, FL, or as near
to M i a ~ n ias possible.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

           - at - a. m./p ,111.on -.
           - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
           - before 2 p.m. on -.
           - as notified by the United States h4arshal.
           - as notified hy the Probation or Pretrial Services Office.




                                                                         RETURN

           1 have executed this judgment as follows:




           Defendant delivered on                                                 to

-     at                                                                          , with a certified copy of this judgment.


                                                                                         United States Marshal


                                                                                         Deputy United States Marshal
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A 0 215B {Rev 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            ALBERT0 CARMON A                                                                   Judgment - Page 3 of 6
Case No. :            8:06-cr-483-T-23TBM
                                                             SUPERVISED REL,EASE

Upon release from imprisonment, the dekndant sliall be on supervised release for a term ol' FORTY-EIGHT (48) MONTHS.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S.C. 8 921.

X          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any ~~nlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule ol' Payments sheet of this judgment.

The defendant nlust comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leave the judicial district without the permission of the court or probation officer;

        the defendant sliall report to the probation officer and shall submit a truthful and complete writtcn report within the i'irst five days of each
        month;

        thc defendant shall answer t~.ilthfi~lly
                                              1111 inquiries by the probation officer and follow the instruclions of lhe probation officer;


        the defendant shall support his or her depcndents and meet other family responsibilities;

        the defendant shall work regularly at a lawfill occupation, unless excused by the probation officer for schooling, traming, or other acceptable
        reasons;

        thc defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

        the defendant shall refrain l'roni cxccssive use of alcohol and shall not purchase. possess, use, distribute, or administcr any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

        the defendant shall not frcquent places whcre controlled substances are illegally sold, used. dislributed, or administered;

        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;

        tlic defendan1 shall permit a probalion officer lo visit him or hcr a1 any lime at honic or elsewlicrc and shall permit contiscation of any
        contraband observed in plain view of the probation officer;

        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

        the defendant shall not enter into any agreement to act as an informer or a special agent of a law cnforccment agency without the pcrmission
        of the court: and

        as directed by the probat~onoffices, lhc defendant shall notify third partics of risks that may be occasionccl by thc dcfcndant's c r ~ n i ~ n record
                                                                                                                                                        al
        or personal h ~ s ~ o rory characteristics and shall permit the probation officer to make such no~ificutionsand to confirm the defendant's
        compliance with such notification requirement.
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A 0 215B (Rev. O6i05) Sheet 3C - Supervised Rrlcnse (Judgment in a Crimi~lalCase)

Defendant:            ALBERT0 CARMONA                                                           Judgment - Page 4 of 6
Case No. :            8:06-cr-483-T-23TBM
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          The defendant shall participate in a program (outpatient and/or inpatient) for treatment of narcotic addiction or drug or alcohol
           dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program may
           include testing for the detection of substance use or abuse. Further. the defendant shall be required to co~ltributeto the costs of
           services for such treatment not to exceed an amount determined reasonable by the Probation Office's Sliding Scale for Substance
           Abuse Treatment Services, Upon conlpletion of a drug or alcohol dependency treaclnent program, the defendant is directed to
           submit to testing for the detection of substance use or abuse not to exceed 104 times per year.
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A 0 245B (Rev 06/05) Sheet 5   - Criminal Monetary Penalties (Judgment in a Crirninal Case)
Defendant:           ALBERT0 CARMONA                                                                       Judgment - Page 5 of 3
                                                                                                                                -
Case No. :           8:06-cr-483-T-23TBM

                                                   CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                                   Fine                             Total Restitution

           Totals:               $100.00                                      $ waivccl                        $


           The determination of resti~utionis deferred until                      . An Amended J ~ d g m e ~ini t a Crinzi~lalCase ( A 0 245C) will be
           entered after such determination.
-          The defendant must make restitution (including conmunity restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
           specified otherwise in the priority order or percentage pa rnent colu~nnbelow. However, pursuant to 18 U.S .C. $
           3664(i), all non-federal victims must be paid before the dnited States.


Name of Payee                                           Total Loss*                      Restitution Ordered                   Priority or Percentage




                                 Totals:               f ~ -                             $


            Restitution mount ordered pursuant to plea agreement $
            The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(1). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant LO 18 U.S.C. 5 36 12(g).
            The court determined that the defendant does not have the ability ro pay interest and it is ordered that:
           -         the interest requirement is waived for the - fine                        - restitution.

           -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23. 1f96.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Casei
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Defendant :           ALBERT0 CARMONA                                                      Judgment - Page 6of 6
Case No. :            8:06-cr-483-T-23TBM


                                                          SCIlEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                      Lump sum payment of $ 100.00 due immediately, balance due
                                 -not later than                         , Or
                                 -in accordance - C , - D ? - E or - F below; or
                      Payment to begin inmediately (may be combined with -C , -D, or -F below); or
                      Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $              over a
                      period of          (e.g ., months or years), to commence              days (e.g ., 30 or 60 days) after the
                      date of this judgment; or
                      Payment in equal                (e.g., weekly, monthly, quarterly) installments of $             over a
                      period of             , (e.g., months or years) to commence                   (e.g. 30 or 60 days) after
                      release from imprisonment to a term of supervision; or
                      Payment during the term of supervised release will coininence within                        (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
                      Special instructions regarding the payinem of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
  enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
i u r e a u of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and Several
Amount. and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
